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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.,                 )
                                       )
                         Plaintiff,    )
                                       )   Civil Action No. l:17-cv-11008-MLW
                 v.                    )
                                       )   LEAVE TO FILE UP TO 30 PAGES
CELLTRION HEALTHCARE CO., LTD.,        )     GRANTED ON JULY 10, 2017
CELLTRION, INC., and                   )
HOSPIRA, INC.,                         )          CONFIDENTIAL -
                                       )         FILED UNDER SEAL
                         Defendants.   )
                                       )

              DEFENDANTS’ REPLY BRIEF IN SUPPORT OF
           THEIR MOTION TO DISMISS FOR LACK OF STANDING
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        Janssen is stuck. Seven months and ten briefs ago, when the parties first appeared before

the Court regarding standing, Janssen argued that “COMPANY” means “any company to which I

become transferred while I’m employed,” meaning here that all the agreement’s provisions, “one

by one by one, [are] talking about obligations to Centocor.” 2/8/17 Hr’g. Tr. at 47:16–17, 52:20–

23. In fact, for this case to survive, Janssen needs “COMPANY”—defined as “Centocor and

Johnson & Johnson and” other entities—to mean only Centocor. But in other litigations involving

the same or similar form agreements, Janssen’s parent and sister companies have asserted that

“COMPANY” means multiple companies beyond the specific employer. Janssen’s “solution” is

to now ask the Court to find that “COMPANY” is a chameleon, meaning different things

“depending on…the facts of a given case,” except that, for the patent assignment provision,

“COMPANY” would always mean “the employer of the inventors, here Centocor.” Janssen Br.,

Dkt. 26 (“J. Br.”) at 6, 8.

        This is not how the law works. “[W]here a contract repeats the same terms, such terms

should be given the same meaning,” particularly where an agreement is the result of “careful

lawyering.” Grayzel v. Boston Sci. Corp., No. A-0991-14T2, 2015 WL 9694354, at *5 (N.J. Super.

Ct. App. Div. Jan. 11, 2016). Here, that “same meaning” is clear. The plain text of “COMPANY”

refers to the entire family of J&J companies, so there is no ambiguity to resolve. “An ambiguity in

a contract exists if the terms of the contract are susceptible to at least two reasonable alternative

interpretations.” Nester v. O’Donnell, 693 A.2d 1214, 1220 (N.J. Super. Ct. App. Div. 1997). But

Janssen cannot point to any “reasonable” alternative.

        Janssen now concedes, as it was forced to do, that “COMPANY” means more than just

Centocor (or “employer”). The question then is thus whether the term means what it plainly says

(“Centocor and Johnson & Johnson and” all other J&J entities), or, as Janssen now contends, it is




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a nebulous, undefined term meaning any number of things, depending on facts and circumstances

such as the particular employee, his roles and responsibilities, when the question is raised, or what

provisions of the agreement are at issue. To support that nebulous meaning, Janssen relies on the

word “any” in the definition of “COMPANY”—“CENTOCOR and JOHNSON & JOHNSON and

any of their successors or assigns, purchasers, acquirers, and any of their existing and future

subsidiaries, divisions or affiliates”—which Janssen says means “one or more.” Then, Janssen

says, simply “[p]lugging in [its] definition of COMPANY” into Paragraph 1 “means that

inventions are assigned to ‘any’ J&J company that employs the inventor at the time of the

invention.” J. Br. at 1.

        This is incorrect. The definition of “COMPANY” has clauses separated by “and,” so each

clause is a required part of the definition. Thus, even under Janssen’s “one or more” interpretation,

COMPANY still would always include at least both Centocor and Johnson & Johnson, as well as

other entities. Moreover, context demands that “any” be construed as “all” to protect the

confidential information and competitive interests of the J&J family of companies, as Janssen has

argued in other cases, and as this Court previously observed: “Superficially, it doesn’t seem

unreasonable for Johnson & Johnson to want to obligate an employee to protect the confidentiality

not only of Centocor but of any other Johnson & Johnson company which might provide

confidential information to the Centocor employee.” 2/8/17 Hr’g Tr. at 63:12–16.

        Unable to avoid the contract language it chose for itself, Janssen urges the Court to consider

the alleged “burden” and “difficulty” associated with assigning inventions to every J&J family

company. J. Br. at 20–21. But Janssen ignores the “burden” and “difficulty” associated with its

own interpretation, which, by leaving “COMPANY” undefined, jeopardizes the J&J family’s all-

important confidential information and competitive interests. Moreover, a Court may not use




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extrinsic evidence in the way Janssen proposes, “to rewrite the contract merely because one might

conclude that it might well have been functionally desirable to draft it differently.” Levison v.

Weintraub, 521 A.2d 909, 910–11 (N.J. Super. Ct. App. Div. 1987). Janssen and J&J easily could

have written a different agreement, and



       In sum, as between Defendants’ simple, consistent, plainly recited definition, or Janssen’s

contorted, inconsistent meaning that results in no definition at all, the Court should adopt

Defendants’ definition. “[A]s Ockham would say, it is the simpler explanation that is usually the

correct one.” Lovetap, LLC v. CVS Health Corp., No. 16-3530, 2017 WL 3250374, at *3 (N.D.

Ga. July 31, 2017).

       With the J&J companies properly found to be co-owners of the ’083 patent, the so-called

“disclaimer” agreement does not cure the standing defect. It is a “settled principle” that “[a]n action

for infringement must join as plaintiffs all co-owners.” Ethicon, Inc. v. U.S. Surgical Corp., 135

F.3d 1456, 1467 (Fed. Cir. 1998). The Federal Circuit recently reaffirmed that there are only two

exceptions to the Ethicon rule, and Janssen does not argue that either applies. Instead, without even

acknowledging Ethicon, it asks to proceed without all co-owners, exactly what Ethicon prohibits.

None of Janssen’s cases support its position. They either conclude that there were no co-owners,

and thus did not address the Ethicon rule, or they are no longer good law because they allowed

Federal Rule 19 regarding joinder to override the law of prudential standing, which the Federal

Circuit has since prohibited. And even if a “disclaimer” could theoretically avoid Ethicon, Janssen

has failed to show that the “disclaimer” binds J&J’s current subsidiaries, much less former

subsidiaries with rights to the ’083 patent, of which there are at least five.

       None of this is unfair to Janssen. There are but two basic requirements for filing a patent




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infringement lawsuit: standing, and a good faith basis for the claim. It is not too much to ask that

Janssen be held to these requirements before dragging an adversary to trial in pursuit of

                     . Janssen should have fixed the standing defect in a way the law recognizes, either

by having all co-owners assign their rights to Janssen, or joining co-owners as plaintiffs. It did

neither and, therefore, the case should be dismissed for lack of standing.

I.         Patents Are Assigned To “The COMPANY,” Which Is Defined As The J&J Family

           Janssen’s primary argument is that the defined term “COMPANY” means whatever J&J

companies are “applicable” based on “the facts of a given case.” J. Br. at 6. This conflicts with

fundamental principles of contract interpretation, would result in inconsistent and unfair outcomes

across different cases, and would permit J&J companies (like Janssen here) to shift its positions in

different courts depending on what best suits its interests at the time.

           A.       Janssen’s Non-Definition of “COMPANY” Is Contrary to Law

           By the agreements’ express terms, “COMPANY” has one meaning, as “used in this

Agreement,” which is the whole point of a definition.1 Dkt. 27, Ex. A at -98780, -98807, -

98796, -98813. Two of the four agreements even label this section “DEFINITIONS.” Id. at -98796,

-98813. Janssen initially agreed that “COMPANY” has one meaning: “any company to which I

become transferred while I’m employed.” 2/8/17 Hr’g. Tr. at 47:15–17. But Janssen was forced to

abandon that approach when discovery (which Janssen opposed) revealed that J&J and its

subsidiaries told other courts that “COMPANY,” in the same or similar agreements, includes

entities beyond a person’s direct employer. See Defendants’ Br., Dkt. 14 (“D. Br.”) at 6–8, Appx.

A. Now Janssen has shifted positions, arguing that “COMPANY” means whatever J&J family

company or companies are “applicable,” “depending on…the facts.” J. Br. at 6. This new argument



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    All emphasis throughout the brief is added unless otherwise noted.


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fails as well.

                 1.    Janssen’s proposal is contrary to fundamental contract law principles

        Janssen’s interpretation would eviscerate the purpose of a defined contract term, which is

to provide clarity and certainty. A contract “must be sufficiently definite ‘that the performance to

be rendered by each party can be ascertained with reasonable certainty.’” Acme Plastics of N.J.,

Inc. v. Int’l Fixtures, Ltd., Civ. No. 02-5906, 2007 WL 1321197, at *4 (D.N.J. May 4, 2007). It is

“essential” that a contract’s “obligations be specifically described in order to enable a court or a

trier of fact to ascertain what it was the promissor undertook to do.” Id.; see also LNT Merch. Co.

v. Dyson, Inc., No. 08-2883, 2009 WL 2169236, at *2 (D.N.J. July 21, 2009) (requiring

“sufficiently definite essential terms”); Noble v. Samsung Elecs. Am., Inc., 682 F. App’x 113, 116

(3d Cir. 2017) (same). “‘[D]oubt or difference’ is incompatible with agreement.” Borough of W.

Caldwell v. Borough of Caldwell, 138 A.2d 402, 410 (N.J. 1958).

        Permitting “COMPANY” to have multiple meanings in the same agreement, as Janssen

suggests, is the opposite of this required clarity. Under settled law, where a contract “repeats the

same terms, such terms should be given the same meaning” throughout, particularly where, as

here, the contract “is clearly the product of careful lawyering.” Grayzel, 2015 WL 9694354, at *5

(citing Celanese Ltd. v. Essex Cty. Improvement Auth., 962 A.2d 591, 601 (N.J. Super. Ct. App.

Div. 2009) (“One of the principles of statutory construction is that ‘identical words used in

different parts of the same act are intended to have the same meaning.’ …. [W]e can perceive no

reason in logic or policy why that principle should not be equally applicable [to a contract].”)).

        Contrary to these settled principles, Janssen now argues that “COMPANY” has different

meanings “depending on the terms of the particular contract provision at issue.” J. Br. at 6. And

not only can the term’s meaning change from provision to provision, but according to Janssen, it

can also change “depending on…the facts”—things like


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                                                         . Id.; Dkt. 15, Ex. 2 at 173:25–180:25. This

is the antithesis of definite.

                2.      Janssen’s proposal is contrary to principles of fairness and consistent
                        application of the law, and precluded by judicial estoppel

        Janssen’s argument that the meaning of “COMPANY” “depends on” the situation flouts

basic principles of fairness and consistency. As Defendants argued in their opening brief, Janssen

is taking inconsistent positions, arguing here that “COMPANY” is limited to the employer,

whereas in other cases J&J and related companies have argued that the very same term extends to

non-employers. See D. Br. at 13; Thore v. Howe, 466 F.3d 173, 182 (1st Cir. 2006). Judicial

estoppel, premised on fairness to litigants, prevents this type of game playing. A party cannot use

“intentional self-contradiction…as a means of obtaining unfair advantage” in this forum or others.

Patriot Cinemas, Inc. v. Gen. Cinemas Corp., 834 F.2d 208, 212 (1st Cir. 1987) (citation omitted).

“[T]he function of judicial estoppel is to protect the integrity of the courts.” Id. at 214. “If parties

feel free to select contradictory positions before different tribunals to suit their ends, the integrity

and efficacy of the courts will suffer.” Id. Adopting Janssen’s interpretation of “COMPANY”

would grant the entire J&J family of companies this very freedom. Not surprisingly, Janssen has

not cited any case holding that a defined contract term has countless different meanings “depending

on…the facts of a given case.”

        B.      The Word “Any” Does Not Support Janssen’s Argument

        Because the law does not support giving malleable meaning to defined terms, Janssen

attempts to derive its strained interpretation from the word “any,” which appears within the

definition of “COMPANY.” E.g., Dkt. 27, Ex. A at -98780. Janssen’s arguments are without merit.



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                  1.       The common sense reading of “any” is “all”

         Janssen argues that “any” can have different meanings, and that the one to use “in this

context” is “‘one or more’ of a group.” J. Br. at 1, 4–5. But as many courts acknowledge, “‘[a]ny’

is often synonymous with ‘either,’ ‘every,’ or ‘all.’” In re Cendant Corp. Sec. Litig., 569 F. Supp.

2d 440, 444 (D.N.J. 2008) (citing Black’s Law Dictionary 94 (6th ed. 1990)); see also Atl. Cas.

Ins. Co. v. Interstate Ins. Co., 100 A.2d 192, 198 (N.J. Super. Ct. App. Div. 1953) (“The word

‘any’ clearly may and should be interpreted as meaning ‘all or every.’”); Livingston v. Trustgard

Ins., 988 F. Supp. 2d 873, 878 (N.D. Ill. 2013), aff'd 558 F. App’x 681 (7th Cir. 2014) (“[T]o the

extent that dictionaries and usage guides shed light on this question, they also generally agree that,

in this context, ‘any’ more often means ‘all.’”).2

         Janssen cites language expert Bryan Garner to argue that “any” means “one or more” in

this case. J. Br. at 4–5. But Mr. Garner’s teachings support Defendants:

      …. (3) In affirmative sentences, it means “every” or “all” <Any attempt to flout the law
      will be punished> <You are required to produce any documents relating to the issue>.
      (4) In a sentence implying that a selection or discretionary act will follow, it may mean
      “one or more (unspecified things or people); whichever; whatever” <Any student may
      seek a tutorial> <Pick any books you like> <a good buy at any price>. ….

C.A. No. 15-10698, Dkt. 521, Ex. B at 3. Janssen focuses on part (4) involving a selection or

discretionary act. J. Br. at 5. But the agreements’ opening statement—“As used in this Agreement:

The COMPANY means…”—does not imply selection or discretion. It is an affirmative sentence,

setting a definition for the whole agreement.

         In an effort to imply selection or discretion, Janssen argues that the fact that “the term


2
  See also, e.g., In re Estate of Tjaden, 402 N.W.2d 288, 293 (Neb. 1987) (“In popular parlance, any usually means
‘all’ or ‘every.’”); Congregation B'nai Jacob v. City of Oak Park, 302 N.W.2d 296, 297 n.4 (Mich. App. 1981) (“any
parsonage” construed to mean every parsonage); Zion v. Kurtz, 405 N.E.2d 681, 686 (N.Y. 1980) (“[T]he word ‘any’
means ‘all’ or ‘every’ and imports no limitation. It is difficult to imagine … a more comprehensive proscription than
one against ‘any business or activities of any kind, directly or indirectly.’”); Sifers v. Horen, 188 N.W.2d 623, 624 n.2
(Mich. 1971) (“The word ‘any’ means just what it says. It includes ‘each’ and ‘every’.”); Uptown Food Store, Inc. v.
Ginsberg, 123 N.W.2d 59, 63 (Iowa 1963) (“The word ‘any’ has the force and effect of ‘all’ or ‘every.’”).


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‘COMPANY’ includes J&J companies that ‘may’ become employers in the future” “informs how

the general word ‘any’ should be read.” J. Br. at 6 (emphasis in original). Nonsense. It is well

settled that “the word ‘includes’ is usually a term of enlargement, and not of limitation.” Vassiliu

v. Daimler Chrysler Corp., 839 A.2d 863, 868 (N.J. 2004). That is the situation here. And the

provision says “may” only to recognize the obvious: that the employee may not become employed

by a different J&J company “in the future.”

          If, as Janssen contends, the drafters intended “COMPANY” to be undefined, it would have

been far simpler to include no definition, rather than counting on the reader to use the “including”

phrase to decode the meaning of “any” to conclude that the definition of “COMPANY” is actually

no definition at all. “A court should not torture the language of a contract to create ambiguity.”

259 Holdings Co., LLC v. Union Dry Dock & Repair Co., No. A-0267-06T5, 2007 WL 3274272,

at *3 (N.J. Super. Ct. App. Div. Nov. 7, 2007).

          In reality, Janssen knows “any” means “all” and that “COMPANY” means the whole

family.



              Dkt. 15, Ex. 10 at -115489–90, Ex. 13 at -112416–418.

                      if the definition of “COMPANY” already gave the J&J family carte blanche to

interpret “COMPANY” as needed, “depending on the…contract provision at issue and the facts of

a given case.” J. Br. at 6.

                 2.       “One or more” does not achieve Janssen’s nebulous meaning of
                          “COMPANY”

          As a more practical matter, Janssen’s approach would not produce the result Janssen seeks

anyway. Substituting “one or more” for “any” results in the following definition:

          As used in this Agreement: The COMPANY means [1] CENTOCOR and [2]
          JOHNSON & JOHNSON and [3] [one or more] of their successors or assigns,


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       purchasers, acquirers, and [4] [one or more] of their existing and future
       subsidiaries, divisions or affiliates, including [one or more] such subsidiary,
       division or affiliate of Johnson & Johnson to which I may be transferred or by which
       I may be employed in the future.

E.g., Dkt. 27, Ex. A at -98780. The definition is a series of clauses separated by the word “and,”

which means “COMPANY” would still include at least four members. Notably, J&J’s presence

is fixed—it is always included under any construct. Nothing about the definition reasonably

suggests an “it depends” meaning.

               3.      The definition of “Affiliates” supports Defendants, not Janssen

       Janssen’s attempt to contrast the definition of “Affiliates of the COMPANY” with the

definition of “COMPANY” is equally unavailing. As noted, “COMPANY” means:

       [1] CENTOCOR and [2] JOHNSON & JOHNSON and [3] any of their successors
       or assigns, purchasers, acquirers, and [4] any of their existing and future
       subsidiaries, divisions or affiliates, including any such subsidiary, division or
       affiliate of Johnson & Johnson to which I may be transferred or by which I may be
       employed in the future.

E.g., Dkt. 27, Ex. A at -98780. The next sentence of the agreements provides that:

       Affiliates of the COMPANY are any corporation, entity or organization at least
       50% owned [1] by the COMPANY, [2] by Johnson & Johnson or [3] by any
       subsidiary of Johnson & Johnson.

Id. Janssen claims that “[t]he three groups in [the Affiliates] sentence parallel those identified in

the preceding [COMPANY] sentence,” and “[t]hus, the most natural reading of the [Affiliates]

sentence is that the ‘COMPANY’ is the employer, Centocor.” J. Br. at 7. In other words, according

to Janssen, the first listed items in each definition are equal to one another, such that [1]

COMPANY (from the Affiliates definition) is equal to [1] CENTOCOR (from the COMPANY

definition). Id. Janssen casts this as “tension between the uses of COMPANY” in the two

sentences, which “makes the term ambiguous.” Id.

       But this defies the plain language. The two definitions are not even “parallel” lists.



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“COMPANY” has four items while “Affiliates” has three. And even if they were parallel, there is

no reason that the first item in each list must have the same meaning. To the contrary, the use of

different words implies different meanings. Cf. Henson v. Santander Consumer USA Inc., 137 S.

Ct. 1718, 1723 (2017) (“And, usually at least, when we’re engaged in the business of interpreting

statutes we presume differences in language like this convey differences in meaning.”). Janssen’s

argument is illogical. The express definition of “COMPANY” includes four items, only one of

which is “CENTOCOR,” so “COMPANY” cannot be just Centocor. Janssen’s attempt to fabricate

“ambiguity” fails.

       Treating “COMPANY” as meaning “Centocor” in the “Affiliates” definition also

improperly circumscribes the scope of “COMPANY,” for example, with respect to subsidiaries.

Janssen’s narrow definition of “Affiliates” only includes subsidiaries that are at least 50% owned

by Centocor, J&J, or a subsidiary of J&J. J. Br. at 7. That narrow definition would exclude, for

example, a subsidiary of Centocor, or a third level or lower subsidiary of J&J. For a company like

J&J, with numerous nested subsidiaries, this would materially limit the scope and enforceability

of the employment agreements. See, e.g., Ex. 32 (J&J subsidiary J&J Consumer, Inc. acquired

TriStrata and its subsidiary Neostrata); Ex. 33 (Micrus Endovascular “operate[s] under Codman

Neurovascular, a business unit of Codman & Shurtleff, Inc., the global neurosurgery device

company of the DePuy Family of Companies within Johnson & Johnson”).

       Janssen also ignores other problems with its argument. The definition of “Affiliates”

incorporates “COMPANY.” So if it were true that “COMPANY” changes “depending on the

facts,” then “Affiliates” would also change “depending on the facts.” And because the definition

of “COMPANY” likewise incorporates the term “Affiliates,” the reverse would be true, too. This

mind-bogglingly complex and circular result was not plausibly intended.




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       By contrast, Defendants’ interpretation of “Affiliate” has a simple and straightforward

meaning, which does includes deeper J&J family subsidiaries because it captures entities at least

50% owned by the “COMPANY”—i.e., by the family. Included entities also could be owned 50%,

collectively, “by the COMPANY” (e.g., two J&J family entities owning 25% each), which would

not be included under Janssen’s approach. Thus, Janssen’s argument that having “COMPANY”

include J&J and all of its subsidiaries “would make no sense” because it would make the definition

of “Affiliates” redundant (J. Br. at 7) is incorrect. In any event, redundancy in contracts is common.

See, e.g., TMW Enter., Inc. v. Fed. Ins. Co., 619 F.3d 574, 578 (6th Cir. 2010) (lawyers “frequently

say two (or more) things when one will do or say two things as a way of emphasizing one point.”).

                                               * * *

       In sum, Janssen’s argument contorts the definition of “COMPANY” by trying to derive far

more from the word “any” than it can plausibly support. Indeed, “[d]isproportionate emphasis

upon a word or clause or a single provision does not serve the object of interpretation.” Borough

of W. Caldwell, 138 A.2d at 410. Rather, “[t]he general purpose of the agreement is to be

considered in ascertaining the sense of particular terms.” Id. Here, Janssen concedes, as it must,

that the general purpose of the agreements is to afford broad protection to the J&J family.

Defendants’ interpretation accomplishes this purpose, treats the definition of “COMPANY” as an

actual definition, gives the contract terms reasonable certainty, is predictable and fair, and can be

administered consistently. It does not contort the language and does not attribute undue,

nonsensical meaning to single words or phrases. In the words of Judge Easterbrook, “[b]est to take

Occam’s Razor and slice off needless complexity.” Commodity Futures Trading Comm’n v.

Zelener, 373 F.3d 861, 868 (7th Cir. 2004).




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       C.      Plugging Janssen’s Definition of “COMPANY” Into the Invention
               Assignment Provision Does Not Result in “COMPANY” Meaning
               “Employer”

       After jumping through hoops to argue against a fixed definition, Janssen argues that, when

its interpretation of “COMPANY” is “plugged into” Paragraph 1, it is “unmistakabl[e]” and

“evident” that inventions are assigned to the company or companies “that employ the inventor at

the time of the invention.” J. Br. at 8–9. Janssen is wrong.

               1.      Janssen’s “plug and play” approach does not work as Janssen intends

       As discussed above, “COMPANY” necessarily includes at least J&J. Thus, Janssen cannot

even get out of the gate with its argument that “COMPANY” in Paragraph 1 is limited to the entity

“that employs the inventor at the time of the invention.” J. Br. at 4. In fact, even under Janssen’s

definition of “any,” “COMPANY” still includes at least four entities, as discussed above. When

this definition is “plugged into” Paragraph 1, the paragraph does not make sense, and does not

accomplish Janssen’s goal:

     I agree to disclose promptly to [Centocor and J&J and other entities] all
     INVENTIONS conceived or made by me whether or not during my hours of
     employment or with the use of [Centocor and J&J and other entities] facilities,
     materials or personnel, either solely or jointly with another or others during my
     employment with [Centocor and J&J and other entities]…

E.g., Dkt. 27, Ex. A at -98780. Janssen’s “plug and play” approach does not result in assignment

of inventions to the employer alone.

       Nor does Janssen’s attempt to rely on how Paragraph 1 describes “INVENTIONS.”

According to Janssen, the reference to “inventions conceived or made during my employment with

the COMPANY” means that inventions are assigned only to the employer. J. Br. at 1, 8. But other

paragraphs in the agreements refer to “employment with the COMPANY” or “employment by the




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COMPANY,”3 and Janssen has conceded that these paragraphs extend to companies who are not

direct employers and that the J&J family has enforced them in this way. See id. at 6 (disavowing

interpretation of agreements as covering only employers); id. at 11



                 ; Dkt. 15, Ex. 4 at 1, 27 (employer DePuy Spine and non-employer JJRT enforcing

provisions with “my employment with the COMPANY” clause); id., Ex. 14 at 1–4, Ex. 15 at -

113066 (employer DePuy Orthopaedics and non-employers J&J and DePuy Products, Inc.

enforcing provisions with “employment by [/with] the COMPANY” clauses). The phrase

“employment with the COMPANY” thus can and does refer broadly to the J&J family. It does not

support limiting Paragraph 1 only to employers.

        Limiting Paragraph 1 to an employer also defies common sense because assigned

“INVENTIONS” are those “related to the actual or anticipated business or activities of the

COMPANY, or related to its actual or anticipated research and development or suggested by or

resulting from any task assigned to me or work performed by me for, or on behalf of, the

COMPANY.” E.g., Dkt. 27, Ex. A at -98780. Janssen’s interpretation would allow employees to

keep for themselves inventions they develop that relate to the activities of any J&J company other

than their direct employer, with the untenable result that employees could freely compete with

other J&J companies. This contradicts J&J’s Code of Business Conduct, which covers “[a]ll

employees of the Johnson & Johnson Family of Companies,” treats the family’s “intellectual

property and confidential information a[s] irreplaceable assets,” and prohibits “[t]he use of


3
  See, e.g., Dkt. 27, Ex. A at -98780 (“CONFIDENTIAL INFORMATION means information disclosed to me or
known by me as a result of my employment by the COMPANY…”); id. at -98781 (“I shall not retain any copies of
correspondence, memoranda, reports, notebooks, drawings, photographs, or other documents in any form
whatsoever…relating in any way to the affairs of the COMPANY and which were entrusted to me or obtained by me
at any time during my employment with the COMPANY.”); id. at -98808 (“During my employment with the
COMPANY and for a period of eighteen (18) months after termination of my employment with the COMPANY for
any reason, I will not render services, directly or indirectly, to any CONFLICTING ORGANIZATION…”).


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Company assets—physical or intellectual—for personal gain.” Ex. 34 at 6, 25, 32.

               2.      Janssen asks the Court to rewrite the agreement

       Janssen’s effort to give COMPANY different meanings within the same agreement defies

settled law on contract interpretation. Where, as here, a contract that “is clearly the product of

careful lawyering” and “repeats the same terms,” “such terms should be given the same meaning”

throughout. Grayzel, 2015 WL 9694354, at *5; cf. United States v. Castleman, 134 S. Ct. 1405,

1417 (2014) (Scalia, J., concurring) (referring to “presumption of consistent usage—the rule of

thumb that a term generally means the same thing each time it is used”). The agreements use the

defined term “COMPANY” throughout, and the Court may not override that choice.

       In effect, Janssen is asking the Court to write a different agreement to suit its needs in this

particular litigation. But a court cannot “make for [contract drafters] a better or more sensible

contract than the one they made for themselves.” Kotkin v. Aronson, 815 A.2d 962, 963 (N.J.

2003). It has “no right to rewrite the contract merely because one might conclude that it might well

have been functionally desirable to draft it differently.” Levison, 521 A.2d at 910-911; Karl’s Sales

& Serv., Inc. v. Gimbel Bros., 592 A.2d 647, 650 (N.J. Super. Ct. App. Div. 1991) (same).

       Moreover, while Janssen argues in this case that the plain reading of “COMPANY” is a

detriment to its objectives, Defendants have shown several benefits to the plain reading already,

with respect to confidentiality and competitive interests. There are other benefits, too. Assigning

inventions to the family of companies avoids transfer or license agreements giving other J&J

companies the right to use inventions (see 35 U.S.C. § 262), which must take place at arm’s length,

or fair market value. See, e.g., Warsaw Orthopedic, Inc. v. NuVasive, Inc., 778 F.3d 1365, 1377

(Fed. Cir. 2015), cert. granted, judgment vacated sub nom. Medtronic Sofamor Danek USA, Inc.

v. NuVasive, Inc., 136 S. Ct. 893 (2016), and opinion reinstated in part, 824 F.3d 1344 (Fed. Cir.

2016); Medtronic, Inc. v. Comm’r of Internal Revenue, 111 T.C.M. (CCH) 1515, 2016 WL


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3221153, at *23–26 (T.C. Jun. 9, 2016). It avoids the related issue of addressing inter-company

royalties in later litigation, as part of a royalty analysis. See, e.g., Ericsson, Inc. v. D-Link Sys.,

Inc., 773 F.3d 1201, 1227 (Fed. Cir. 2014) (“[L]icenses may be presented to the jury to help the

jury decide an appropriate royalty award”). It also avoids the problem that arises when the patent

owner and the company selling a patented product are separate entities, because of the rule that

“lost profits must come from the lost sales of a product or service the patentee itself was selling.”

Warsaw Orthopedic, 778 F.3d at 1376; see also Poly-Am., L.P. v. GSE Lining Tech., Inc., 383 F.3d

1303, 1311 (Fed. Cir. 2004) (where companies “separate[e] the owner of the patent from the seller

of the patented product,” patent owner “can recover only its own lost profits”).

        Moreover,



D. Br. at 10; Dkt. 15, Ex. 10 at -115490; id., Ex. 13 at -112417–418.

                                                                                                     J.

Br. at 11.

                                                                                                      .

               3.      Janssen’s “extrinsic evidence” is improper and unavailing

        Janssen argues that various types of “extrinsic evidence” show an intent for inventions to

be assigned to “any” J&J companies “that employ the inventor at the time of the invention.” J. Br.

at 9–22. As the Federal Circuit has recognized, when interpreting a contract under New Jersey law,

which it does de novo, “extrinsic evidence is admissible to aid in contract interpretation, but it is

‘not for the purpose of modifying or enlarging or curtailing its terms.’” Abbott Point of Care Inc.

v. Epocal, Inc., 666 F.3d 1299, 1303 (Fed. Cir. 2012) (citing Conway v. 287 Corp. Ctr. Assocs.,

901 A.2d 341, 346–47 (N.J. 2006). It cannot be used to “give effect to an intent at variance with

that language.” Abbott Point of Care, 666 F.3d at 1303-04 (citing Dontzin v. Myer, 694 A.2d 264,


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267 (N.J. Super. Ct. App. Div. 1997)). Yet that is exactly what Janssen seeks to do.

       Defendants have addressed most, if not all, of Janssen’s “extrinsic evidence” in prior briefs

regarding standing, including Defendants’ opening brief for this motion. See D. Br. at 14–21; see

also No. 15-10698, Dkts. 508, 553. This included at least the face of the ’083 patent, the invention

disclosure form, J&J’s internal list of patents associated with Janssen, the so-called “assignment”

agreements executed during litigation, the couple of Defendants’ documents, and the declarations

from Mr. Dow and Ms. Amos. See D. Br. at 18–21. Though none of the “extrinsic evidence” can

change the wording and meaning of the agreements at issue, additional points responsive to

Janssen’s arguments are addressed below.

       “Subsequent assignments” (Dkt. 27, Exs. C–H). The 2007 Canadian “assignments” are,

like the 2015 ones, ineffective, at least with respect to Epstein, Marsh, Monsell, and Ozturk. Dkt.

27, Ex. D. They bear no apparent connection to the form employment agreements or the drafter of

them, and thus do not reflect what he or she intended. Id. The 2005 assignment from Ms. Lenk

(Dkt. 27, Ex. C), who, to Defendants’ knowledge, did not previously assign her inventions to “the

COMPANY,” simply shows that there was a means to convey rights to “Centocor, Inc.” alone, but

J&J or Centocor did not proceed in this way with respect to the other inventors.

       Allegedly “absurd and unreasonable” results (see J. Br. at 20–22). As an initial matter, it is

Janssen’s contrived interpretation of “COMPANY” that results in illogicalities and inconsistencies

that are nothing short of unreasonable and absurd. See Parts I.A–B, supra. Also, Defendants do

not “conced[e]” anything regarding alleged “tax risks and difficulties” described by Ms. Amos. J.

Br. at 21. To the contrary, Janssen’s claim that joint ownership “would be a nightmare, with the

balance sheets of hundreds of companies around the world potentially affected by each revenue-

generating patent of any J&J company” (id.) is wrong as a matter of law. “In the absence of any




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agreement to the contrary, each of the joint owners of a patent may make, use, offer to sell, or sell

the patented invention within the United States, or import the patented invention into the United

States, without the consent of and without accounting to the other owners.” 35 U.S.C. § 262. This

autonomy extends to “commercializing or exploiting [a] patent through licensing.” STC.UNM v.

Intel Corp., 754 F.3d 940, 947 (Fed. Cir. 2014); see also Tavory v. NTP, Inc., 297 F. App’x 976,

982 (Fed. Cir. 2008) (“[L]icensing is also covered by § 262.”). Thus, earnings a co-owner makes

on a patent are its own and would not impact “balance sheets of hundreds of companies.” The

threat about “routine patent office actions,” such as “reissue” proceedings, is empty as well. J. Br.

at 20. Seeking reissuance of a patent is hardly a “routine” occurrence.

                                                                                                       .

Dkt. 27, Ex. I. Getting “consent of all assignees” (Dkt. 27 at ¶ 15) is at most a potential

inconvenience that can be worked around, not an “absurd result.”

       Janssen’s selected evidence reflects its improper effort to overcome the plain and

unambiguous text of definition of “COMPANY” in favor of a meandering non-definition that

defies the rule that a single “term[] should be given the same meaning” throughout a contract.

Grayzel, 2015 WL 9694354, at *5. It is inappropriate for the Court to use extrinsic evidence in that

manner simply to accommodate Janssen’s goals for this case. See, e.g., Sachau v. Sachau, 17 A.3d

793, 796 (N.J. 2011) (“A court’s role is to consider what is written in the context of the

circumstances at the time of drafting and to apply a rational meaning in keeping with the expressed

general purpose.”); Malad, Inc. v. Miller, 199 P.3d 623, 627 (Ariz. Ct. App. 2008) (“We interpret

a contract based on the parties’ intent upon entering the agreement, not their intent after the fact.”);

Consol. Rail Corp. v. Grand Trunk W. R.R. Co., No. 09-10179, 2012 WL 3758843, at *10 (E.D.

Mich. Aug. 29, 2012) (“[T]his court must interpret the contractual language without reference to




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self-serving, after-the-fact, assertions by a party to the contract as to what its subjective intent

was.”).

                 4.     The most authentic and reliable extrinsic evidence is how J&J
                        companies have actually used the employment agreements

          To the extent extrinsic evidence is used, the most compelling are the numerous

enforcement actions involving the same or similar form employment agreements. Unlike the bulk

of Janssen’s selected extrinsic evidence, documents from the enforcement actions are untainted by

Janssen’s motivation in this case. The enforcement actions, discussed in Defendants’ opening brief

and summarized in their Appendix A, show that J&J and its subsidiaries regularly interpret

“COMPANY” broadly, and strongly support Defendants’ interpretation. See D. Br. at 6–9, Appx.

A.

          It does not matter whether these enforcement actions are a “small portion” of total

enforcement actions, as Janssen argues. J. Br. at 13. There is no de minimis exception to the rule

against playing fast and loose with the courts. It is equally irrelevant that none of the actions have

named every J&J company as a plaintiff. Id. The fact is that Janssen’s parent and family companies

have leveraged the broad definition of “COMPANY” to suit their needs in other courts, including

by telling at least one court that both J&J and its subsidiary Cordis “own all inventions” made by

one former employee under an employment agreement with a definition of “COMPANY” almost

identical to the one in the Epstein, et al. agreements. See D. Br., Appx. A.

          Janssen argues that “J&J’s enforcement of the agreements is consistent with Janssen’s

position and inconsistent with Defendants’” position, because the “J&J companies have enforced

other provisions of the agreements on behalf of one or more J&J companies,” but “they have never

done so on behalf of all J&J companies collectively.” J. Br. at 2. There is no inconsistency. There

is no requirement for every party with enforcement rights to participate in an employment or trade



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secret litigation.

        Defendants advocate the definition of “COMPANY” as written, which provides a finite,

single, simple meaning in every agreement, in every instance.

II.     The March 2017 “Disclaimer” Agreement Cannot Cure Janssen’s Lack of Standing

        As an alternative to its self-serving, case-specific interpretation of “COMPANY,” Janssen

argues that the so-called “disclaimer” agreement satisfies the standing requirement without adding

all of the owners as plaintiffs. J. Br. at 22–30. Janssen asserts that Defendants “cite no authority

holding that a disclaimer of ownership cannot cure a purported defect of prudential standing.” Id.

at 26. Not true. Defendants cite the controlling authority on this issue, which Janssen ignores.

        A.      Under Federal Circuit Law, All Patent Co-Owners Must Join as Plaintiffs

        Under Federal Circuit law, it is a “settled principle” that “[a]n action for infringement must

join as plaintiffs all co-owners.” Ethicon, 135 F.3d at 1467. “Absent the voluntary joinder of all

co-owners of a patent, a co-owner acting alone will lack standing.” Israel Bio-Eng'g Project v.

Amgen, Inc., 475 F.3d 1256, 1264–65 (Fed. Cir. 2007). As Defendants explained in their opening

brief, there are “two established exceptions” to this rule, as recognized in Ethicon: (1) “when any

patent owner has granted an exclusive license, he stands in a relationship of trust to his licensee

and must permit the licensee to sue in his name”; and (2) “[i]f, by agreement, a co-owner waives

his right to refuse to join suit, his co-owners may subsequently force him to join in a suit against

infringers.” Ethicon, 135 F.3d at 1468 n.9. The Federal Circuit recently reaffirmed Ethicon, leaving

no doubt that its rule governs this case. In STC.UNM v. Intel Corp., a patent co-owner “had not

voluntarily joined as a co-plaintiff.” The Federal Circuit affirmed the district court’s dismissal for

lack of standing, applying “the rule that a patent co-owner seeking to maintain an infringement

suit must join all other co[-]owners” and confirming that only two exceptions to the rule “have as

yet been recognized.” STC.UNM, 754 F.3d at 944, 946.


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       Janssen does not dispute that, under Defendants’ interpretation of “COMPANY,” it has not

joined all co-owners of the ’083 patent. Nor does it dispute that neither Ethicon exception applies.

Remarkably, even though Janssen cited Ethicon in earlier briefing (No. 15-10698, Dkt. 520 at 19),

it now ignores the case altogether. Instead, Janssen asks this Court to hold the opposite of

Ethicon—that standing does not require all co-owners’ participation. This would be error.

       B.      There Is No Authority Permitting a Third Exception to Ethicon

       The cases Janssen cites in support of its argument that “the J&J disclaimer eliminates the

need to add” the ’083 patent co-owners (J. Br. at 22) fall into three inapplicable categories.

               1.      Cases finding no co-owner do not support Janssen

       For the first category, Janssen cites cases finding that there was no co-owner of the disputed

patent, which means the Ethicon rule was not even implicated. For instance, in IpVenture, the

Court considered two questions: (1) “whether Hewlett-Packard had an ownership interest in the

’235 patent when the suit was filed,” and (2) “if so”—i.e., if HP did have an ownership interest—

“the effect of Hewlett-Packard’s later statement that it ‘never has had any legal or equitable rights’

in the patent.” IpVenture, Inc. v. Prostar Comput., Inc., 503 F.3d 1324, 1326 (Fed. Cir. 2007). As

Defendants explained in their opening brief, on the first question, the IpVenture court concluded

that “Hewlett-Packard was not an assignee.” Id. at 1327 (relying on Arachnid and other cases).

Because HP was not a co-owner, the Court did not need to address the question of standing absent

a co-owner.

       Janssen relies heavily on the IpVenture statements that HP’s “disclaimer” “removed the

need to construe the employment agreement” and was “effective in accordance with its terms.” J.

Br. at 24. These statements, which were at best dicta, were made in the context of reaching the

conclusion HP was not an assignee. See IpVenture, 503 F.3d at 1327. Because the Court

definitively found HP not to be a co-owner, it did not reach the Ethicon rule, and did not find, as


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Janssen claims, that the “disclaimer” “eliminates any purported standing defect.” J. Br. at 24.

Indeed, the Court did not even cite Ethicon. See also Ex. 35 at 23–25 (plaintiff IpVenture

identifying two arguments involving the “disclaimer”: (1) HP was not a co-owner, as supported

by the disclaimer, and (2) even if it were, the Court should make an exception to Ethicon based on

the disclaimer). Moreover, the Court held that it “need not reach the question of whether the district

court had discretion, in applying Fed. R. Civ. P. 19(a), to permit the addition of parties in this case

without requiring dismissal and refiling.” IpVenture, 503 F.3d at 1326. In other words, had HP

been a co-owner, the question would have been whether HP could be added, not whether the case

could proceed without HP.4

          Nomadix (J. Br. at 26) is inapposite for the same reason. The defendants “contend[ed] that

[the University of California] is co-owner of the patents and therefore must be party to th[e] suit.”

Nomadix, Inc. v. Hewlett-Packard Co., No. 09-08441, 2012 WL 1577436 at *2 (C.D. Cal. May 7,

2012). The court held that UC did not hold title to the patents. Id. This conclusion was

“[d]ispositive as to standing,” and UC’s “Non-Assertion Agreement d[id] not change the analysis.”

Id. at *2-3. As in IpVenture, there was no co-owner, no issue of standing, and thus, no holding that

a “non-assertion” agreement circumvents the Ethicon rule.

          Janssen’s reliance on Enovsys (J. Br. at 25) is misplaced for the same reason. Nextel argued

that Enovsys lacked standing because it failed to join the ex-wife of a patent inventor, whom Nextel

claimed “acquired an ownership interest in the…patents because [the inventor] filed both patent

applications during their marriage.” Enovsys LLC v. Nextel Commc’ns, Inc., 614 F.3d 1333, 1338

(Fed. Cir. 2010). The Federal Circuit held that “[p]rior to the divorce, the patents


4
    Walker Digital, LLC v. Expedia, Inc., 950 F. Supp. 2d 729 (D. Del. 2013), which Janssen cites, actually confirms
    that the question passed upon in IpVenture relating to the “disclaimer” agreement was “whether Hewlett-Packard,
    the employer of a co-inventor of the patent-in-suit, had an ownership interest in the patent” (950 F. Supp. 2d at 737
    n.9), not that the agreement “eliminates any purported standing defect” as Janssen claims. J. Br. at 24.


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were…presumptively community property,” but that “[p]ursuant to the California divorce decree”

that had been entered before the patent suit was filed, the ex-wife “retained no property rights in

the patents.” Id. at 1343. The divorce judgment, which “constituted a complete and final

adjudication of [the couple’s] property rights,” was “entitled to res judicata effect.” Id. at 1343.

Again, therefore, there was no co-owner, so the Court never reached the Ethicon rule.5

                  2.       Cases applying Rule 19 do not support Janssen

         For the second category, Janssen cites Agilent and Tele-Guia, which applied Federal Rule

of Civil Procedure 19 regarding joinder of necessary parties, to conclude that patent co-owners

need not be joined. These cases are not good law in view of STC.UNM.

         Tele-Guia is not a standing case. The defendants moved to dismiss “pursuant to Rule

12(b)(7), Fed. R. Civ. P., for failure to join as necessary and indispensable parties an inventor and

an assignee of the patents.” Tele-Guia Talking Yellow Pages v. Cablevision Sys. Corp., No. 07-

3948, 2007 WL 3224573, at *1 (S.D.N.Y. Oct. 31, 2007). The court applied “the Rule 19

framework” and “Second Circuit law,” not Federal Circuit law, concluding that while the third

party had “an ownership interest,” it had “contracted with Tele-Guia to disclaim any right to

enforce this patent against parties other than Lucent.” Id. at *2, 4. Citing provisions in Rule 19,

such as the fact that the co-owner’s “absence from this litigation [does not] prevent[] complete

relief from being accorded between Tele-Guía and CSC,” and “failure to join [the co-owner] would

not leave CSC ‘subject to a substantial risk of incurring double, multiple, or otherwise inconsistent

obligations,’” the court denied the motion. Id. at *4.

         Agilent was the same. The defendant sought to dismiss, or add HP “as a necessary party


5
   Katrinecz v. Motorola Mobility LLC, 2014 U.S. Dist. LEXIS 190707 (J. Br. at 25) was the same. 2014 U.S. Dist.
LEXIS 190707 at *9–10 (“The [Marital Settlement] Agreement was incorporated into the Final Judgment” and “[a]
final judgment of divorce is res judicata as to all property rights of the parties that could have and should have been
adjudicated in that proceeding.”).


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under Rules 12(b)(7) and 19(a).” Agilent Techs., Inc. v. Micromuse, Inc., No. 04-3090, 2004 WL

2346152, at *1 (S.D.N.Y. Oct. 19, 2004). Similar to Tele-Guia, the court stated that under Rule

19, “courts are less concerned with abstract characterizations of the parties and more concerned

with whether the rights of the parties can be fairly adjudicated absent joinder of the patent co-

owner.” Id. at *7 (citing Rule 19 cases). Agilent and HP had entered into an agreement “regarding

their respective rights concerning the enforcement of the ’138 Patent,” and the court denied the

motion because “[b]ased on the terms of the…Agreement, it does not appear that H-P’s absence

from this lawsuit will subject Micromuse to any ‘substantial risk of incurring double, multiple, or

otherwise inconsistent obligations…’” Id. at *8 (citing Fed. R. Civ. P. 19(a)).

       Both cases relied on Rule 19 principles relating to, for example, providing “complete

relief” and avoiding “double, multiple, or otherwise inconsistent obligations.” Fed. R. Civ. P.

19(a). But these cases predate STC.UNM, and thus are not good law. In STC.UNM, the plaintiff

argued that “the holding in Ethicon yields to Rule 19(a)’s involuntary joinder test.” STC.UNM,

754 F.3d at 944. The Federal Circuit rejected that request, holding that “[r]ules of procedure, such

as that in Rule 19(a), must give way to substantive patent rights.” Id. at 946 (citing 28 U.S.C. §

2072). Rule 19 thus does not “trump[] the holding that substantive patent law ordinarily requires

consent to joinder from all co[-]owners.” Id. at 945; see also STC.UNM v. Intel Corp., 767 F.3d

1351, 1353–55 (Fed. Cir. 2014). Indeed, the Southern District of New York (from which Tele-

Guia and Agilent came) recently acknowledged, based on STC.UNM, that “an absent co-owner of

a patent is both a necessary and indispensable party to suit for purposes of Rule 12(b)(7),” requiring

dismissal when “one of the co-owners of the patent is not a party.” Advanced Video Techs. LLC v.

HTC Corp., No. 15-4626, 2016 WL 3434819, at *16 (S.D.N.Y. June 14, 2016).




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               3.      Cases addressing whether an exclusive licensee may be deemed the
                       assignee do not support Janssen

       For the third category, Janssen relies on two cases from the Eastern District of Texas

dealing with whether an exclusive licensee may be deemed an assignee. Neither addressed the

Ethicon rule nor let a suit continue in the absence of a co-owner.

       The question in Advanced Technology was whether the plaintiff ATI had obtained “all

substantial rights” from the third party patent owner, to make ATI the effective sole owner.

Advanced Tech. Incubator, Inc. v. Sharp Corp., No. 07-468, 2009 WL 2448156, at *1, 4 (E.D.

Tex. July 6, 2009) (“ATI I”), report and rec. adopted as modified, 2009 WL 2460985 (E.D. Tex.

Aug. 10, 2009) (“ATI II”). The district judge concluded that at the time of filing suit, ATI “did not

have all substantial rights so as to accord [it] the status of ‘patentee,’” but it later obtained these

rights, after the complaint was filed, by way of a “2008 Acknowledgement,” in which the patent

owner’s successor had, among other things, “waived any requirement that ATI obtain [its] consent

before transferring the patents-in-suit” and “disclaimed any right to enforce the patents-in-suit and

agreed to be bound by the outcome of the case at bar.” ATI II, 2009 WL 2460985 at *5. The court

thus held that the 2008 Acknowledgment “rendered ATI an exclusive licensee with all substantial

rights...”—in other words, the effective sole owner. Id.

       ATI is not about an unjoined co-owner. It applied the rule that when “all ‘substantial rights’

under the patent are transferred by the owner of the patent, the transferee will be deemed the

effective patentee under the statute and will be deemed to have standing to bring suit in its own

name.” ATI I, 2009 WL 2448156 at *4; see also ATI II, 2009 WL 2460985 at *4. It is thus like

IpVenture, Nomadix or Enovsys, in which there was no co-owner. Moreover, ATI’s reliance on a

post-complaint agreement is not good law. Since ATI, the Federal Circuit has held that a plaintiff

“cannot correct a jurisdictional defect that existed at the time the complaint was filed by post-filing



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activity.” Alps S., LLC v. Ohio Willow Wood Co., 787 F.3d 1379, 1384 (Fed. Cir. 2015).

       MediaTek was similar. Plaintiff MediaTek had been given rights to the asserted patents

from two other plaintiffs, UMC and Sarnoff. MediaTek. Inc. v. Sanyo Elec. Co., No. 05-323, 2007

WL 5186792 at *1 (E.D. Tex. 2007). The focus, as in ATI, was whether MediaTek had obtained

“all substantial rights.” Id. at *4–5. The court concluded that “MediaTek is the assignee,” i.e., the

sole owner, “or, alternatively, the exclusive licensee” of the patents, and permitted UMC and

Sarnoff to be dismissed from the case because “[t]heir disclaimer is sufficient to protect Sanyo

from future duplicative litigation.” Id. at *8. The reference to a disclaimer in MediaTek does not

allow this Court to treat J&J’s “disclaimer” as an exception to Ethicon. First, the MediaTek court’s

decision to allow the suit to proceed without UMC and Sarnoff rested on its “alternative” holding

that “MediaTek is the assignee,” making participation by UMC and Sarnoff not necessary “at all.”

Id. And while the court stated it could proceed without UMC and Sarnoff even if they were still

owners because of their agreement “to be bound by [] any judgment or settlement” (id.), that

directly contradicts Federal Circuit law. A plaintiff who does not have “all substantial rights” and

thus is not effectively the assignee, but rather an exclusive licensee, “must still be joined in suit

by the patent owner.” Prima Tek II, L.L.C. v. A-Roo Co., 222 F.3d 1372, 1377 (Fed. Cir. 2000)

(citing Indep. Wireless Tele. Co. v. Radio Corp. of Am., 269 U.S. 459 (1926)). A patent owner’s

agreement “to be bound by any judgment” is not “sufficient to confer standing.” Prima Tek II, 222

F.3d at 1380–81; J. Br. at 27 (acknowledging this rule).

               4.      Defendants’ cases correctly apply Ethicon and show that the
                       “disclaimer” is not an exception to the rule requiring joinder

       In an effort to avoid the cases Defendants cited—Bushnell and Speedfit—Janssen asserts

that standing was lacking in those cases “precisely because the co-owner had not adequately

disclaimed ownership in the patent prior to suit.” J. Br. at 28. That is flatly incorrect.



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       In Bushnell, the defendants argued that the existence of a third party co-owner meant that

“plaintiffs lack prudential standing.” Bushnell, Inc. v. Brunton Co., 659 F. Supp. 2d 1150, 1162

(D. Kan. 2009). The plaintiffs responded, like Janssen here, that the co-owner “waived its right to

sue these defendants.” Id. at 1163. And like Janssen, the plaintiffs argued that under IpVenture,

the co-owner’s opting out of the suit “removes the possibility of multiple suits for infringement of

the same patents,” thus permitting standing. Id. The Bushnell court rejected this argument,

declining to “create a new exception to the joinder rule: that joinder is not necessary where a co-

owner waives the right to participate in a given infringement suit, agrees to be bound by the

judgment and agrees not to license the patents to the alleged infringers.” Id. It noted:

     The Federal Circuit has not recognized such an exception, and in fact it has expressly
     stated that a patent owner’s agreement to be bound by judgments against an exclusive
     licensee does not necessarily resolve the issue of standing because “standing to sue for
     infringement depends entirely on the putative plaintiff's proprietary interest in the
     patent, not on any contractual arrangements among the parties regarding who may sue
     and who will be bound by judgments.”

Id. at 1163-64 (citing Prima Tek II, 222 F.3d at 1381). Bushnell thus rejects Janssen’s argument.

       Speedfit also correctly applied Ethicon. There, the plaintiffs argued for an “exception” to

Ethicon where the absent co-owner allegedly “waived his right not to be involuntarily joined in

this lawsuit.” Speedfit LLC v. Woodway USA, Inc., 226 F. Supp. 3d 149, 156 (E.D.N.Y. 2016).

The court agreed that “‘[i]f, by agreement, a co-owner waives his right to refuse to join suit, his

co-owners may subsequently force him to join,’” and that “[t]he Federal Circuit has recognized

this exception to the general requirement that all co-owners must be joined as plaintiffs.” Id. (citing

Ethicon, 135 F.3d at 1468 n.9; STC.UNM I., 754 F.3d at 946). Critically, however, like J&J’s

“disclaimer,” the agreement in Speedfit “did not constitute a waiver by [the co-owner] of his right

to refuse to join an infringement suit.” Id. Rather, the absent co-owner had “assert[ed] his right to

refuse to join the lawsuit.” Id. Accordingly, the plaintiffs lacked standing. Id. at 157. Speedfit thus



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further supports that the March 2017 Agreement does not cure the standing defect.

        Janssen also tries to explain away additional Federal Circuit cases that support Defendants,

such as Prima Tek II, 222 F.3d at 1381 (standing “depends entirely on the putative plaintiff’s

proprietary interest in the patent, not on any contractual arrangements among the parties regarding

who may sue and who will be bound by judgments”) and Ortho Pharm. Corp. v. Genetics Inst.,

Inc., 52 F.3d 1026, 1034 (Fed. Cir. 1995) (“[A] contract cannot change the statutory requirement

for suit to be brought by the ‘patentee.’”), dismissing them as related to “licensee[s]” or “Article

III standing.” J. Br. at 27. Janssen’s effort is without merit. These cases, combined with the clear

law of Ethicon, confirm that a “contractual” “disclaimer” cannot fix a lack of standing.

        C.      The March 2017 Agreement Does Not Bind Companies Other Than J&J

        Even if there were a “disclaimer” exception to the Ethicon rule, it still would not cure

Janssen’s standing defect.

                1.       The “disclaimer” does not bind current J&J subsidiaries

        Janssen has asserted that the J&J family consists of “250-plus” companies around the world

(J. Br. at 5, 21) and that J&J “doesn’t control the operations of its operating subsidiaries,” which

are “all standalone companies.” 2/8/17 Hr’g Tr. at 63:19–64:3. Yet, Janssen now asserts with no

support that “J&J had the authority to bind—and did bind—its subsidiaries” with the so-called

“disclaimer” agreement. J. Br. at 28. Janssen’s inconsistent positions should be rejected. “Having

one’s cake and eating it, too, is not in fashion in this circuit.” United States v. Tierney, 760 F.2d

382, 388 (1st Cir. 1985).

        None of the cases Janssen cites stand for the proposition that a company can disclaim all

of its subsidiaries’ patent ownership interests.6 The closest case to the current scenario is Quantum


6
 See Grunley Walsh US, LLC v. Raap, 2009 U.S. Dist. LEXIS 38609, at *23-25 (E.D. Va. May 6, 2009), aff’d, 386
F. App’x 455, 462 (4th Cir. 2010) (sellers “controlled Grunley Walsh U.S.” which meant that Grunley Walsh U.S.


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Corp. v. Riverbed Tech., Inc., No. 07-04161, 2008 WL 314490 (N.D. Cal. Feb. 4, 2008), cited by

Defendants, which requires a finding that J&J cannot disclaim all of its subsidiaries’ interests

without their participation. D. Br. at 29. In Quantum, the plaintiff argued that it had acquired rights

to the asserted patent through an agreement executed by the patent owner’s parent company on

behalf of itself “and its subsidiaries.” Quantum, 2008 WL 314490 at *2. But the “[t]rouble [wa]s,

[the patent owner] was not a party to the agreement, i.e., [it] did not sign the agreement.” Id. The

court cited “basic tenet[s] of American corporate law” about separateness of corporate entities,

recognizing that “[p]arties who determine to avail themselves of the right to do business by means

of the establishment of a corporate entity must assume the burdens thereof as well as the

privileges.” Id. There had been no showing that the parent company “should be treated as [the

subsidiary’s] alter ego,” and thus the agreement signed by the parent was not effective with respect

to its subsidiary. Id.

         Janssen attempts to distinguish Quantum because the plaintiff “had no independent

ownership interest,” whereas here, Janssen has an ownership interest. J. Br. at 29. This is a

distinction without a difference. The point of Quantum is that a parent cannot automatically bind

its subsidiaries’ with respect to their patent rights, simply by virtue of them being subsidiaries.

         Janssen argues that in Royal Industries v. St. Regis Paper Co., 420 F.2d 449 (9th Cir. 1969)

and Max Sound Corp. v. Google, Inc., 147 F. Supp. 3d 948 (N.D. Cal. 2015), which Defendants

also cite, “the parent did not even purport to bind its subsidiaries.” J. Br. at 29–30. This misses the

point. In Royal Industries, a parent could not terminate a license without the consent of its




qualified as “affiliate” under terms of release); Invitrogen Corp. v. Emp’rs. Ins. Co., 2007 U.S. Dist. LEXIS 19301, at
*20-25 (D. Ariz. Mar. 9, 2007) (party to settlement agreement could not later seek reinsurance payments from
subsidiary of parent it had agreed to release); Geier v. Mozido, LLC, 2016 De. Ch. LEXIS 149, at *15-18 (Del. Ch.
Sep. 29, 2016) (release held to apply to person in charge of company in his individual capacity); N. Sec. Ins. Co. v.
Mietc Elecs., Ltd., 965 A.2d 447, 456-57 (Vt. 2008) (successor in interest bound by predecessor’s release).


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subsidiary. See D. Br. at 30; 420 F.2d at 453. “Royal and [subsidiary] Plas-Ties were separate legal

entities in respect of their licensing contract,” and therefore the proper course of action was to

“obtain Plas-Ties’ assent to termination before it filed suit” or “to join Plas-Ties as a plaintiff.”

420 F.2d at 453. In Max Sound, “a parent’s control of its subsidiaries [wa]s insufficient to confer

standing” “because a parent company is not automatically deemed authorized to transfer its

subsidiaries’ patent rights.” 147 F. Supp. 3d at 954. Other cases echo the principles from Quantum,

Royal Industries, and Max Sound. See, e.g., Whetstone Candy Co. v. Kraft Foods, Inc., 351 F.3d

1067, 1074 (11th Cir. 2003) (“Corporations are separate legal entities and contracts made by a

parent corporation do not bind a subsidiary merely because one corporation owns all of the stock

of the other corporation.”); Bross Utils. Serv. Corp. v. Aboubshait, 618 F. Supp. 1442, 1445

(S.D.N.Y. 1985) (“A parent corporation cannot create a subsidiary corporation and then ignore the

separate corporate existence of that subsidiary whenever it would be advantageous to the parent.”).

        It is Janssen’s burden to prove that it has prudential standing (Abbott Point of Care, 666

F.3d at 1302), and thus that J&J bound all of its “standalone” companies for which J&J “doesn’t

control the operations.” Janssen has not met this burden.

                2.       The “disclaimer” does not bind former J&J subsidiaries

        In addition, since the early 2000s, portions of “the COMPANY” have been sold, are no

longer part of the J&J family, and thus J&J could not act on their behalf in executing the March

2017 Agreement. According to publicly available information, J&J has sold at least five

subsidiaries who were part of the J&J family during the time frame when Mr. Epstein and the

others assigned their inventions to the J&J family. See Appendix B (summary of divested

companies); Ex. 36 (documents evidencing sales). Janssen lacks any basis to claim that J&J bound

these former family companies. No language in the March 2017 Agreement even purports to do

so. See J. Br., Ex. 5.


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       Janssen tries to shift the burden to Defendants, arguing that Defendants do not identify any

“divestiture agreement [that] would even colorably give such an entity a right to maintain an

ownership claim.” Id. at 30. But Janssen has already conceded that if inventors’ rights were

“assigned to all J&J companies that ‘existed’ in 2001–03, companies that were subsequently

divested would retain rights in Centocor’s patents and could impede Centocor’s ability to enforce

its patents by refusing to be joined.” No. 15-10698, Dkt. 445 at 7.

       Again, Janssen bears the burden of establishing standing, which requires demonstrating

that there are no absent co-owners of the ’083 patent. It has not done this. The March 2017

Agreement cannot bind companies who are outside the J&J family; thus, they maintain ownership

of the ’083 patent as a consequence of the plain meaning of “COMPANY.” The requirement that

a co-owner be joined “enable[s] the alleged infringer to respond in one action to all claims of

infringement for his act, and thus either to defeat all claims in the one action, or by satisfying one

adverse decree to bar all subsequent actions.” Indep. Wireless, 269 U.S. at 468. This policy applies

as much in this case as in any other. The third-party co-owners of the ’083 patent who are

unimpacted by the March 2017 Agreement preclude a finding of prudential standing.

       Just recently, Janssen told the Court that if its case is dismissed, it will simply “refil[e] the

case with any purported standing defects resolved.” Dkt. 33 at 11. If it is true that Janssen can

resolve its standing problem in a way the law recognizes, it should do so. Because it lacks standing

now, and standing is a requirement for litigation, this action must be dismissed.




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Dated: August 25, 2017              Respectfully submitted,

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